     Case 4:19-cr-00171-RSB-CLR Document 74 Filed 10/29/19 Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF GEORGIA
                       SAVANNAH DIVISION

                                      )
                                      )
Leave of Absence                      ) Case No’s.4:19-cr-0145
                                      )           4:19-cr-0171
                                      )           4:19-cr-0141
                                      )           4:16 -cr-0057



Upon having read and considered the Request for Leave of Court filed by Attorney
Andraya Mimms, the same is hereby GRANTED for the following days:

            November 6– 18, 2019;
            November 27-December 1, 2019;
            December 12 – 20, 2019; and
            December 20 – January 8, 2020.


Hereby entered thisWKday of 2FWREHU2019.




                                      _________________________________
                                       ___________________________
                                      CHRISTOPHER
                                      CHRIISTOOPHER R L. R
                                                         RAY
                                                           Y
                                      UNITED STATES MAGISTRATE -8'*(
                                      SOUTHERN DISTRICT 2) GEORGIA
